
PER CURIAM
On consideration of the certified order of the Supreme Court of California suspending respondent from the practice of law in that jurisdiction for a period of one year, stayed in favor of a two-year probationary period with conditions, this court's August 10, 2016, order, directing respondent to show cause why reciprocal discipline should not be imposed, the statement of Disciplinary Counsel regarding reciprocal discipline, and it appearing that respondent has failed to file a response to this court's show cause order, it is
ORDERED that Ronald W. Grigg is hereby suspended from the practice of law in the District of Columbia for a period of one year, stayed in favor of a two-year probationary period subject to the conditions imposed by the state of California. See In re Sibley , 990 A.2d 483 (D.C. 2010), and In re Fuller , 930 A.2d 194, 198 (D.C. 2007) (rebuttable presumption of identical reciprocal discipline applies to all cases in which the respondent does not participate).
